
Pennington, J.
— As to the first and fourth objection, there is nothing in them. As to the second objection, [*] the state of demand does not pretend to set out the written agreement, but only refers to it. It states the contract more largely than was contained in the written agreement, but I think there is no ground to reverse on that objection. The third objection has more weight. I think it should appear on the deposition taken under the act, that the witness was carefully examined and cautioned, and sworn to testify the whole truth. Bloom, 77. Instead of which, the justice certifies that the witness was duly sworn, according to law; but as the defendant had notice of the examination, and might have attended, I think it would be too strict to reverse for this cause, particularly, as the evidence was not objected to at the trial. As to the letter of the plaintiff, offered in evidence, I consider that as merely evidence of notice to the defendant, that the mare purchased of him was diseased, and not as evidence of the contract; and as such, proper evidence ; and, on the whole, that judgment be affirmed.
Kirkpatrick, C. J.
— The reasons assigned, are very general; and upon the closest examination, 1 do not find that they are supported by the record. Let judgment be affirmed.
Rossexx, J.— of the same opinion.
Judgment affirmed.
